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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

WILLIAM O. DALE and
A. JAMES STREELMAN,

       Plaintiffs,

v.                                                          CIV 16-953 KBM/KK

EQUINE SPORTS MEDICINE & SURGERY
RACE HORSE SERVICE, PLLC. And
DR. BOYD CLEMENT,

       Defendants.

                            DISMISSAL WITHOUT PREJUDICE

       COMES NOW, Plaintiffs William O. Dale and A. James Streelman, by and through their

undersigned counsel, and do hereby dismiss the above styled and numbered cause of action

without prejudice.

       Pursuant to Federal Rules of Civil Procedure Rule 41 Dismissal of Actions (a)(1)(A)(i)

dismissal is proper voluntarily by Plaintiff because the Defendants have not file either an Answer

or a Motion for Summary Judgment.

       Respectfully submitted this 10th day of January, 2017.

                                                    /s/ Dori E. Richards
                                                    Dori E. Richards, Esq.

                                                    A. Blair Dunn
                                                    A. Blair Dunn, Esq.

                                                    Attorneys for Plaintiffs
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                                                    Business Advocates, LLP
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                                CERTIFICATE OF SERVICE

     The undersigned hereby certifies that a copy of the foregoing was filed via the Court’s
CM/ECF system on this 10th day of January, 2017, causing all parties to be served electronically.

A. Blair Dunn
A. Blair Dunn. Esq.
